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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE= )

) MDL No. 1674
coMMUNITY BANK oF NoRTHERN ) ease No.
vIRGINIA AND GUARANTY BANK ) 03-425

)

SECOND MORTGAGE LITIGATION

QBQEB
AND NOW, this 19th day of February, 2008, pursuant to
this court's January 25, 2008 Memorandum and Order [Doc. No. 285],
IT IS HEREBY ORDERED THAT if any interested party has comments
regarding the Joint Plan of Class Action Settlement Notice [Doc.

No. 287] these comments must be filed with the court on or before

BY TH COU
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fon. Gary L. Lancaster,
United States District Judge

February 22, 2008.

 

cc: All Counsel of Record

